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Case: 1:22-cv-03342 Document #: 1 Filed: 06/27/22 Page 2 of 12 PageID #:2
Case: 1:22-cv-03342 Document #: 1 Filed: 06/27/22 Page 3 of 12 PageID #:3
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